                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 IN RE: TWC LIQUIDATION TRUST, LLC, )                Chapter 11
                                    )
                  Debtor.           )                Bankr. Case No. 18-10601 (MFW)

 Andrew R. Vara, in his capacity as the          )   Adv. No. 22-50476 (MFW)
 United States Trustee for Region 3; Tara        )
 Twomey, in her capacity as Director of the      )
 Executive Office for the United States          )
 Trustees; and the United States Trustee         )   C.A. No. 23-1067 (MN)
 Program,                                        )
                                                 )
                        Appellants,              )
                                                 )
        v.                                       )
                                                 )
 Dean A. Ziehl, in his capacity as Trustee       )
 of the TWC Liquidating Trust,                   )
                                                 )
                       Appellee.                 )

                                              ORDER

       At Wilmington, this 20th day of December 2023:

       Having considered Appellants’ Motion to Stay Appeal Given the Supreme Court’s Grant of a

Petition for Writ of Certiorari in United States Trustee v. John Q. Hammons Fall 2006, LLC, No. 22-

1238 (D.I. 5) (“Motion to Stay”), Appellee’s Limited Objection (D.I. 7), and Appellant’s Reply

(D.I. 8); and having found just cause to grant the relief requested; IT IS HEREBY ORDERED that:

       1.     The Motion to Stay (D.I. 5) is GRANTED.

       2.     Appellants shall promptly inform this Court after the Supreme Court has issued a

decision.


                                              ___________________________________
                                              The Honorable Maryellen Noreika
                                              United States District Judge
